CaSe 2:05-cr-20078-.]PI\/| Document 72 Filed 08/29/05 Page 1 of 3 Page|D 95

 

IN THE UNITED sTATEs DISTRICT coURT mm Bv__, _____ ___pa
FoR THE wEsTERN DISTRICT oF TENNESSEE _
wEsTERN DIVISION gSAuG 29 m 6,¢.2
UNITED sTATEs OF AMERICA WJD%§MSHCNE°I-l$

Plaintiff,

/€,/@ /¢/ZM//

v

criminal NO.F»_:- Zao?g Ml

(GO-Day Continuance)

 

 

 

 

VVVVVVVVVVVVVVVVVV~_,

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the September
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28, 2005, with trial to take place
on the November, 2005, rotation Calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 26th day of August, 2005.

TmsmmummnemewdonmedodwtmweHncmw“ '
with ama 55 ami/or a2(b) mach on 9",@ ;O__§ _r 02

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SO ORDERED this 26th day of August, 2005.

.meQQL

JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

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/Y,r

Assistant Uni

       

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Counsel for Defendant(s)

 

 

thice of Distribution

This notice confirms a copy of the document docketed as number 72 in
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Michael EdWin Scholl

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167 N. Main St.

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Honorable J on McCalla
US DISTRICT COURT

